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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA




                                                  CASE NUMBER:
 ARISHA BYARS
                                  PLAINTIFF(S),     5:22−cv−01801−JGB−KK

      v.

 CASPER SLEEP INC., et al.
                                                   Notice to Counsel Re Consent to Proceed
                                DEFENDANT(S).
                                                   Before a United States Magistrate Judge




 The parties are advised they may consent to proceed before any available magistrate judge
 participating in the Voluntary Consent to Magistrate Judges Program to conduct all further
 proceedings in the case pursuant to 28 U.S.C. § 636(c) and Federal Rules of Civil
 Procedure 73. The consent list and consent form are available on the court's website at
 http://www.cacd.uscourts.gov/judges-requirements/court-programs/voluntary-consent-
 magistrate-judges-program. To confirm a particular magistrate judge's availability to
 schedule the trial in the time frame desired by the parties and/or willingness to
 accommodate any other special requests of the parties, please contact the magistrate judge's
 courtroom deputy prior to filing the consent.
 Since magistrate judges do not handle felony criminal trials, civil trial dates are not at risk
 of being preempted by a felony criminal trial, which normally has priority. Further, in
 some cases, the magistrate judge may be able to assign an earlier trial date than a district
 judge. The parties can select a participating Magistrate Judge from any of the three
 divisions in the Central District of California. There may be other advantages or
 disadvantages which you will want to consider.
 The plaintiff or removing party must serve this Notice on each named party in the case.
